          Case 1:19-cv-03618-GHW Document 118 Filed 10/19/20 Page 1 of 2
                                                                USDC SDNY
                                                                DOCUMENT
                                                                ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                    DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                   DATE FILED: 10/19/2020
 -------------------------------------------------------------X
                                                              :
 NEW YORK BAY CAPITAL, LLC,                                   :
                                                              :
                                                   Plaintiff,:
                                                              :   1:19-cv-03618-GHW
                              -against-                       :
                                                              :         ORDER
 COBALT HOLDINGS, INC.,                                       :
                                                              :
                                               Defendant.:
 ------------------------------------------------------------ X

GREGORY H. WOODS, United States District Judge:

       To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned Magistrate Judge.

       If both parties consent to proceed before the Magistrate Judge, counsel for the defendant

must, no later October 23, 2020, file on ECF a fully executed Notice, Consent, and Reference of a

Civil Action to a Magistrate Judge form, a copy of which is attached to this order (and also available

at https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf). The executed form should be

filed on ECF as a “Proposed Order,” and be described using the “Consent Order” filing event in

accordance with ECF Rule 13.18. If the Court approves that form, all further proceedings will then

be conducted before the assigned Magistrate Judge rather than before me. Any appeal would be

taken directly to the United States Court of Appeals for the Second Circuit, as it would be if the

consent form were not signed and so ordered.

       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, no later than October 23, 2020, advising the
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Court that the parties do not consent, but without disclosing the identity of the party or parties

who do not consent. The parties are free to withhold consent without negative consequences.

       SO ORDERED.

 Dated: October 19, 2020                          _____________________________________
 New York, New York                                        GREGORY H. WOODS
                                                          United States District Judge




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